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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )
                                          )                 Criminal No. 20-40036-TSH
VINCENT KIEJZO,                           )
                                          )
                                          )
                     Defendant            )
                                          )
__________________________________________)



                          ORDER ON MOTION FOR DISCOVERY

                                         October 4, 2021

Hennessy, M.J.

       Defendant is charged by indictment with one count of Possession of Child Pornography,

in violation of 18 U.S.C. § 2252A(a)(5)(B). He has moved to compel discovery which the parties

briefed and argued at an in-person hearing. For the reasons that follow, the motion is denied.

       I.      Factual and Procedural Background

       On September 8, 2020, DHS special agent Caitlin Moynihan applied for a warrant for

Defendant’s residence. [Dkt. No. 2-3]. Her supporting affidavit alleged probable cause to believe

that a computer in Defendant’s home accessed two child pornography websites, Website 2 and

Website 3, operating on the TOR network. [Dkt. No. 80-6, ¶ 5]. Among other averments,

Moynihan presented information about the content of Websites 2 and 3, including detailed

descriptions of images of child pornography found there, topics available to users, and user posts.

[Id. ¶¶ 15–29]. Moynihan averred that the TOR network, on which these websites operated, is

designed to anonymize the IP addresses which access TOR network websites by routing internet


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communications through a path of random IP addresses before reaching a destination computer,

as well as the IP addresses hosting services on the TOR network that users may access. [Id.,

¶¶ 7–8, 14]. Moynihan noted that hidden service websites on the TOR network are not indexed or

easily identified by search engines, such as Google, and generally a user would need to take

deliberate steps to access Website 2 or Website 3, including knowing and inputting the 16 or

56-character web address for either. [Id. ¶ 35]. Thus, while the TOR network does not guarantee

anonymity for a user accessing its hidden services, the routing of communications through a path

of IP addresses makes traditional identification techniques largely ineffective. [Id. ¶¶ 7, 11].

Given the anonymity the TOR network creates, and that TOR hidden service websites are

accessible to users anywhere in the world, it is common for law enforcement agencies from

investigating countries to share information relevant to an offender or a site in other countries.

[Id. ¶ 35].

          According to Moynihan, in June 2019 a foreign law enforcement agency (“FLA”) seized

the computer server(s) located outside the U.S. which hosted Website 2 and Website 3. [Id. ¶¶ 15,

23]. In August 2019, an FLA “known to U.S. law enforcement and with a history of providing

reliable, accurate information” notified U.S. law enforcement that it had determined that IP address

96.230.213.63 (the “96 IP address”) had accessed Website 2 on May 12, 2019 at a certain time,

and Website 3 on the same date about 16 minutes thereafter. [Id. ¶¶ 31–32]. 1 Moynihan averred

the notifying FLA was “a national law enforcement agency of a country with an established rule

of law;” that the FLA and U.S. law enforcement had a long history of criminal information-sharing;

that the notifying “FLA advised U.S. law enforcement that it had obtained [the IP] information

through independent investigation that was lawfully authorized in the FLA’s country pursuant to


1   The Government disclosed in discovery that the notifying FLA, the
         , was not the seizing FLA. [Dkt. No. 80, p. 1 n.1].

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its national laws;” that in doing so the “FLA had not interfered with, accessed, searched, or seized

any data from any computer in the [U.S.] in order to obtain the IP address information;” and that

U.S. law enforcement “did not participate in the investigative work through which the FLA

identified the IP address.” [Id. ¶ 33]. Moynihan recounted that prior tips associated with TOR

network child exploitation websites from the notifying FLA led to the identification and arrest of

a U.S.-based producer of child pornography and hands-on offender, and rescue of child victims of

this offender; the seizure of evidence of child pornography trafficking and possession; and

corroboration for information independently developed of child pornography trafficking and

possession. [Id. ¶ 34].

       On March 20, 2020, agents issued an administrative subpoena to Verizon Fios for customer

information for the user of the 96 IP address on the date and times provided in the tip. [Id. ¶ 39].

Verizon reported the 96 IP address belonged to Defendant’s residence. [Id.]. Agents executed the

warrant on September 9, 2020. [Dkt. No. 2-3, ¶ 5]. In Defendant’s bedroom, agents located a

thumb drive which contained 6,000 video files, including files depicting minors engaged in

sexually explicit conduct, and a document with four links to the TOR network. [Id. ¶¶ 9–10].

Defendant was present, waived his Miranda rights, and when informed of what agents had located

admitted possessing child pornography on the thumb drive and accessing the TOR network.

[Id. ¶¶ 12–13].

       Following indictment and the Government’s discovery production, Defendant requested

additional discovery, some of which the Government provided. As noted, during discovery, the

Government advised Defendant that the FLA which seized the servers hosting Websites 2 and 3

was not the notifying FLA               [Dkt. No. 80, p. 1 n.1]. Defendant then moved to compel

discovery and for an in-person hearing on the motion. Defendant alleged that the discovery he



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sought to compel was required under Fed. R. Crim. P. 16, Local Rules 116.1 and 116.2, Brady v.

Maryland, 373 U.S. 83 (1963), the Fifth Amendment, and Defendant’s ability to prosecute a

hearing pursuant to Franks v. Delaware, 438 U.S. 154 (1978). [Dkt. No. 80].

       II.     Legal Standard

       Rule 16 of the Federal Rules of Criminal Procedure directs the government, upon a

defendant’s request, to allow a defendant to inspect and copy any item in the government’s

possession, custody, or control that is either (i) material to preparing the defense; (ii) an item the

government intends to use in its case-in-chief at trial; or (iii) was obtained from or belongs to the

defendant. See Fed. R. Crim. P. 16(a)(1)(E). As to the first category, a defendant, as the moving

party, bears the burden of showing materiality. United States v. Goris, 876 F.3d 40, 44 (1st Cir.

2017). “A showing of materiality requires ‘some indication’ that the pretrial disclosure of the

information sought ‘would have enabled the defendant significantly to alter the quantum of proof

in his favor.’” Id. (quoting United States v. Ross, 511 F.2d 757, 763 (5th Cir. 1975)). A significant

alteration may occur in myriad ways, including “uncovering admissible evidence, aiding witness

preparation, corroborating testimony, or assisting impeachment or rebuttal.” Id. (quoting United

States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993)). However, a showing that what is sought

bears some abstract relationship to the issues in the case is not enough. Id.

       Local Rule 116.1 does not add much for purposes of this motion; it requires the government

to produce all information to which a defendant is entitled under Rule 16. See Local Rule

116.1(c)(1)(A). In relevant part, Local Rule 116.2 implements Brady v. Maryland, 373 U.S. 83

(1963) and its progeny, and defines exculpatory evidence to include information which tends to

cast doubt on: a defendant’s guilt or any essential element of a charged offense; the admissibility

of evidence that the government may offer in its case-in-chief; the credibility or accuracy of



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evidence the government may offer in its case-in-chief; or information that tends to diminish a

defendant’s culpability. See Local Rule 116.2(a).

        Finally, Defendant claims the discovery is needed for him to prosecute a Franks hearing.

In Franks v. Delaware, the Court said:

        There is, of course, a presumption of validity with respect to the affidavit supporting the
        search warrant. To mandate an evidentiary hearing, the challenger’s attack must be more
        than conclusory and must be supported by more than a mere desire to cross-examine. There
        must be allegations of deliberate falsehood or of reckless disregard for the truth, and those
        allegations must be accompanied by an offer of proof. They should point out specifically
        the portion of the warrant affidavit that is claimed to be false; and they should be
        accompanied by a statement of supporting reasons. . . . The deliberate falsity or reckless
        disregard whose impeachment is permitted today is only that of the affiant, not of any
        nongovernmental informant.

438 U.S. at 171. Entitlement to discovery to mount a Franks challenge requires the same

substantial preliminary showing. See United States v. Long, 774 F.3d 653, 661–62 (10th Cir.

2014) (disclosure of informant not required where defendant’s allegations consisted solely of

speculation and failed to make the substantial preliminary showing required by Franks); United

States v. Messalas, 17-cr-339 (RRM), 2020 WL 1666162, at *11 (E.D.N.Y. Apr. 4, 2020)

(“Messalas cannot seek discovery to support his Franks challenge without first making the

preliminary showing required to grant a Franks hearing”); United States v. Harding, 273 F. Supp.

2d 411, 430 (S.D.N.Y. 2003) (where defendant failed to make the substantial preliminary showing

for a Franks hearing, he is not entitled to “wide-ranging discovery to canvass for evidence to

support his motion to suppress.”); cf. United States v. Koschtschuk, 09-cr-0096(S)(M), 2011 WL

1549464, at *1–2 (W.D.N.Y. Apr. 22, 2011) (explaining that if a defendant makes the threshold

showing in support of a Franks hearing, discovery may be allowed). 2



2 Defendant fails to develop the claim that the Fifth Amendment requires disclosure. The claim is therefore
waived. See United States v. Zanino, 895 F.2d 1, 17 (1st Cir. 1990) (issues averted to in a perfunctory manner,
unaccompanied by some effort at developed argument, are deemed waived).

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       III.     Analysis

       With this law in mind, Defendant moves for the following discovery:

              #3-4: The identity of the FLA that seized the computer server hosting
              Websites 2 and 3 in June 2019, as referenced in ¶¶ 15-16 of the
              Affidavit.

              #8: Any record of the investigative technique(s) utilized by the FLA
              with respects to the “notification(s)” described in ¶¶ 31-33 of the
              affidavit.

       [Dkt. No. 80, pp. 17, 20]. The Government has declined to disclose this information. I

find that Defendant has failed to show the relevance or materiality of the requested discovery. As

an initial matter, Defendant can prosecute a motion to suppress without this discovery. Indeed,

review of the sufficiency of the probable cause is limited to the four corners of the affidavit.

Aguilar v. Texas, 378 U.S. 108, 109 n.1 (1964), abrogated on other grounds by Illinois v. Gates,

462 U.S. 213 (1983). The seizing FLA is not identified in Moynihan’s affidavit; hence, its identity

is not relevant to resolution of a motion to suppress.

       Defendant nevertheless relies on two exceptions to the purely domestic scope of the

exclusionary rule to compel production. “Ordinarily, the Fourth Amendment’s exclusionary rule

does not apply to foreign searches and seizures, for ‘the actions of an American court are unlikely

to influence the conduct of foreign police.’” United States v. Valdivia, 680 F.3d 33, 51 (1st Cir.

2012) (quoting United States v. Hensel, 699 F.2d 18, 25 (1st Cir. 1983)). “There are, however,

two well-established exceptions to this rule: (1) where the conduct of foreign police shocks the

judicial conscience, or (2) where American agents participated in the foreign search, or the foreign

officers acted as agents for their American counterparts.” Id. (quoting United States v. Mitro, 880

F.2d 1480, 1482 (1st Cir. 1989)). Defendant has failed to proffer any persuasive showing that the

first exception applies. Rather, his argument appears to be that if the seizing FLA were identified,

the seizing FLA’s investigation might be identified, and it may be determined from review of the


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investigation that the seizing FLA engaged in conduct which might shock the judicial conscience.

This argument is, as it sounds, speculation and in the absence of an offer of proof that the seizure

involved conduct that would shock a judicial conscience, fails to meet Defendant’s burden.

       In suggesting that the 96 IP address information was the product of a joint venture,

Defendant assembles information which reflects a history of cooperation and collaboration

between U.S. and foreign country law enforcement agencies. [Dkt. No. 80, pp. 4–7]. Defendant

also points to the reliance on MLATs between the U.S. and foreign countries to facilitate

cooperation in criminal investigations, and notes that adoption of the                      reflects

Congress’ endorsement of the MLAT between the U.S. and                             to facilitate such

cooperation. In the Court’s view, a history of collaboration and treaties does not persuade the

Court that a joint venture occurred here. Indeed, Moynihan expressly averred that the U.S. did not

participate in the investigative work through which the FLA identified the IP address. [Dkt. No.

80-6, ¶ 33]. While Defendant correctly argues that this statement does not preclude the possibility

that the U.S. participated in other phases of the investigation, at the same time Defendant offers

nothing but this bald assertion of a possibility. Moreover, if U.S. agents had participated in, for

instance, the seizure of the websites server(s), common sense suggests that a FLA tip would have

been unnecessary to alert agents of the activities of the 96 IP address; rather, U.S. agents would

have possessed such information. See Illinois v. Gates, 462 U.S. 213, 238 (1983) (affidavit should

be read in a practical, common-sense manner). Lastly, it seems equally unlikely that U.S. agents

directed an investigation into what IP addresses accessed the websites, since, as noted in the

affidavit, the hidden service websites on the TOR network are accessible globally and users may

be located anywhere in the world, not necessarily or only in the U.S.

           #6-7: The substance of the notification by the “FLA” to U.S. law
           enforcement regarding the identification of the IP address in this



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           case, as referenced in ¶¶ 31-32 of the affidavit, including but not
           limited to:
              a. the author of the “FLA” notification;
              b. the identity of the “U.S. Law Enforcement” agency which received
              the notification and the recipient;
              c. the complete content of the notification, including information
              on tactics and/or techniques utilized by the “FLA” to determine the
              identity of the IP address accessing the website;
              d. any and all descriptions and/or identifications of Website 2
              provided by the “FLA” in its tip to the U.S.;
              e. the “further documentation” regarding Websites 2 and 3 provided
              by the FLA as referenced in ¶¶ 31-32 of the affidavit.

           #9: Any information, document, memorandum, and/or agreement addressing
           whether the FLA provided the information regarding the IP address in
           this case as part of a coordinated initiative or program with U.S. law
           enforcement.

           #16: Any and all cover sheet(s), correspondence, and/or index list
           documenting the totality of “tip” and/or “notification” information
           provided by the FLA.

       [Dkt. No. 80, pp. 18, 20]. The Government produced photocopies of what the Court

understands to be some of the communications from the notifying FLA that comprise the substance

of the tip about the 96 IP address. These photocopies are heavily redacted, and Moynihan avers

that the notifying FLA “provided further documentation naming [Website 2 and Website 3]” by

their actual names and as having been accessed by the 96 IP address.              [Dkt. No. 80-6,

¶¶ 31–32]. Defendant argues that complete copies of the documents comprising the tip should be

produced, in part, to test the truthfulness of Moynihan’s averments. [Dkt. No. 80, p. 13]. To

support his preliminary discovery burden, Defendant takes issue with how the tip is described in

the affidavit—the FLA “notified U.S. law enforcement” that the FLA had determined that at a

certain time on a certain date the 96 IP address accessed Websites 2 and 3. Defendant infers that

the tip was a single communication and, as such, would be in tension with the fact that there is no

single piece of paper which links the 96 IP address to Websites 2 and 3. I disagree. Moynihan’s

averment summarizes the tip but does not detail how it was communicated. Further, Moynihan

expressly averred that in seeking a search warrant, she did not include every fact known to her, but



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only the facts she believed were necessary to establish probable cause. [Dkt. No. 80-6, p. 4]. For

purposes of Franks discovery, I find that while the tip is drawn from several communications, read

together these squarely identify Website 2 and Website 3 as hidden services on the TOR network

which supported distribution of child pornography, and as having been accessed by the 96 IP

address, and hence that Defendant fails to establish preliminarily a false or recklessly untrue

averment. [Dkt. Nos. 80-7 to 80-9]. Defendant also points to a discrepancy between Moynihan’s

averment that the 96 IP address “accessed” the websites and the Government’s statement in

discovery that the 96 IP address “accessed or logged into” the websites to suggest a potential false

or reckless statement. However, the Government readily conceded at oral argument that it spoke

in error by including “logged into.” In the Court’s view, this argument makes too much of too

little. As noted in the caselaw recited above, Defendant is not entitled to Franks discovery without

making a substantial preliminary showing.

        Defendant also argues that discovery is necessary to allow him to show that the

investigation was a joint venture with U.S. law enforcement. [Dkt. No. 80, pp. 16, 19]. For the

reasons stated above, I reject this argument.

        Finally, I note that insofar as Defendant believes Moynihan’s averments fail to link the 96

IP address to the websites, he can make such arguments in support of suppression.

            #10: Complete copies of the “advisements” by the FLA to U.S. law
            enforcement   regarding    the   “independent    investigation”    and
            “investigative work through which the FLA identified the IP address
            information” in this case, as referenced in ¶ 33 of the affidavit.

        [Dkt. No. 80, p. 21]. Having received photocopies of communications comprising the tip,

Defendant trains this request on the seizing FLA and the possibility that the seizing FLA engaged

in shocks-the-conscience misconduct. Because I find Defendant offers nothing but speculation to

support this request, it is denied.


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             #13:     The name of the “Operation,” “Task Force,” “Initiative,”
             and/or organizing group assigned by the FLA to the investigation in
             this case, and the name of “Operation,” “Task Force,” “Initiative,”
             and/or organizing group assigned by the FBI to the investigation in
             this case, if different.

             #14: The specific case FBI ID and/or serial number assigned to the
             Defendant’s case.

       [Dkt. No. 80, pp. 21, 22]. Defendant offers myriad arguments to support production of this

information. None of them is persuasive. He argues that the information is relevant to the nature

and scope of the investigation and to showing whether there was a joint venture. For the reasons

stated above, I find that Defendant has failed to submit a persuasive offer of proof that there was

a joint venture here. I also reject the argument that names and numbers assigned to the case are

material to defending this case.

       Defendant also argues that the information is “necessary to determine whether there were

any omissions and/or misstatements” in Moynihan’s affidavit. [Dkt. No. 80, p. 21]. This argument

ignores the settled law that Defendant must make a substantial preliminary showing for such

discovery.

       Lastly, Defendant makes the conclusory claim that information responsive to request 14 is

Brady material. This claim is undeveloped and summarily rejected.

             #15: Any record of action taken in response to the FLA notification by
             U.S. Law Enforcement agencies, including but not limited to copies of
             subpoenas and supporting materials (including spreadsheets, charts,
             lists, and/or other documents) sent to internet service providers, as
             referenced in ¶¶ 3 and 39 of the affidavit; and copies of returns to
             such subpoenas.

       [Dkt. No. 80, p. 23]. Insofar as Defendant argues that the Government should produce

information regarding steps taken in other investigations in response to notifications from an FLA,

such information is neither material nor relevant to Defendant’s prosecution and is denied.

Defendant further argues that there is a discrepancy between the action taken in this case between

the subpoena to Verizon for information associated with the 96 IP address on the date and at the

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times identified in the tip and Verizon’s response which associates the 96 IP address with

Defendant’s residence not for only the date and times requested, but for the 10-month period in

which the date and times occurred. This discrepancy is not significant. Accordingly, I deny the

motion.

            #17: With respect to the notification by the FLA to U.S. law
            enforcement:
               a. whether, and how, the FLA determined that the defendant’s IP
               address accessed and/or visited a specific portion of Websites 2
               and/or 3, and, if so, what specific portion of Websites 2 and/or 3
               was accessed and/or visited;
               b. the number of tips provided by the FLA to U.S. law enforcement
               pursuant to its investigation under the United Kingdom’s 2016
               Investigatory Powers Act as referenced in its September 16, 2019
               letter;
               c. the number of websites identified by the FLA to US. law
               enforcement pursuant to its investigation under the U.K.’s 2016
               Investigatory Powers Act;
               d. the number of IP addresses identified by the FLA to U.S. law
               enforcement pursuant to its investigation under the U K. 's 2016
               Investigatory Powers Act.

        [Dkt. No. 80, p. 24]. As to item (a), the Government reported that it is not in possession of

information showing which portions of Websites 2 and 3 the 96 IP address accessed. Accordingly,

the motion is denied as to item (a). As to items (b) through (d), Defendant argues that the

responsive information is relevant to the scope of the investigation, and the method and reliability

of the identification of the 96 IP address. In the Court’s view, for purposes of this instant

prosecution, the method and reliability of the identification of the 96 IP address depend on

Moynihan’s averments set forth in the four corners of her affidavit. Defendant has not made an

offer of proof to warrant discovery to challenge in a Franks hearing the veracity of her averments.

Defendant is of course free to argue that the averments fail to establish the reliability of the tipster,

here the notifying FLA. Insofar as Defendant seeks items (b) through (d) to prove a joint venture,

I find he has failed to make a showing to support the discovery requests.




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     IV.     Conclusion

     For the reasons stated above, Defendant’s Motion to Compel Discovery [Dkt. No. 80]

IS DENIED.

     October 4, 2021

                                              /s/ David H. Hennessy
                                              David H. Hennessy
                                              United States Magistrate Judge




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